   Case 2:07-cr-00105-SSV-DEK   Document 259    Filed 04/01/10   Page 1 of 2



                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                           CRIMINAL ACTION

VERSUS                                             NO: 07-105

CHARLES EUGENE PREWITT                             SECTION: R(3)

                           ORDER AND REASONS

     Before the Court is petitioner Charles Eugene Prewitt’s

motion for a certificate of appealability.          (R. Doc. 253.)

     The Rules Governing Section 2255 Proceedings were amended in

2009, and Rule 11 now provides that “[t]he district court must

issue or deny a certificate of appealability when it enters a

final order adverse to the applicant.          Before entering the final

order, the court may direct the parties to submit arguments on

whether a certificate should issue.”       RULES GOVERNING SECTION 2255

PROCEEDINGS, Rule 11(a).   A court may only issue a certificate of

appealability if the petitioner makes “a substantial showing of

the denial of a constitutional right.”         28 U.S.C. § 2253(c)(2).

In Miller-El v. Cockrell, the Supreme Court held that the

“controlling standard” for a certificate of appealability

requires the petitioner to show “that reasonable jurists could

debate whether (or, for that matter, agree that) the petition

should have been resolved in a different manner or that the

issues presented [are] ‘adequate to deserve encouragement to

proceed further.’”    537 U.S. at 336.     With respect to claims

denied on procedural grounds, the petitioner must make a two-part
  Case 2:07-cr-00105-SSV-DEK     Document 259   Filed 04/01/10   Page 2 of 2



showing: (1) that “jurists of reason would find it debatable

whether the district court was correct in its procedural ruling,”

and (2) that “jurists of reason would find it debatable whether

the petition states a valid claim of the denial of a

constitutional right.”    Johnson v. Quarterman, 483 F.3d 278, 284

(5th Cir. 2007) (quoting Slack v. McDaniel, 529 U.S. 473, 484

(2000)).

     Prewitt’s motion does not satisfy these standards.              He

claims that his sentence was unreasonable, but Prewitt waived his

right to appeal his sentence in his plea agreement.              Furthermore,

Prewitt’s arguments with regard to his counsel’s ineffectiveness,

with no independent indicia of merit and no explanation as to why

prejudice might have resulted, do not amount to a substantial

showing that his constitutional rights were compromised, nor

would it engender any type of debate among reasonable jurists.

     For the foregoing reasons, Turner’s motion under § 2255 is

DISMISSED.   The Court will not issue a certificate of

appealability.



                                   1st day of April, 2010.
      New Orleans, Louisiana, this ___

                 _________________________________

                               SARAH S. VANCE

                   UNITED STATES DISTRICT JUDGE




                                     2
